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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

Case No. 20-CR-20006-GRAHAM
UNITED STATES OF AMERICA
VS.
ROCCO OPPEDISANO,

Defendant.
/

FACTUAL PROFFER

The United States and the defendant, Rocco Oppedisano (“OPPEDISANO”), stipulate that
if this case were to proceed to trial, the United States would prove the following facts, among
others, beyond a reasonable doubt:

On or about December 2, 2019, the U.S. Coast Guard (“USCG”) cutter COCHITO was
patrolling in the waters east of Haulover Inlet, Florida. The COCHITO spotted a recreational vessel
headed west towards Florida,. The vessel is a United States registered 63° Sunseeker yacht named
the INXS FINALLY. Initially, the INXS FINALLY did not respond to radio calls to stop, but
eventually the operator stopped two (2) nautical miles east of Haulover Inlet. OPPEDISANO was
driving the INXS FINALLY. He claimed te be the only person onboard and told the USCG officers
that he had departed Golden Beach, Florida, that moming and was on his way back to Golden
Beach. However, the GPS Chart Plotter showed a clear track from Florida to Nassau, The
Bahamas, and back.

During their inspection of the INXS FINALLY, the USCG officers could not access the
front or back staterooms and OPPEDISANO refused to let them in. The USCG officers brought

the INXS FINALLY to Bill Bird Marina near Haulover Inlet, the first place they entered the
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Southern District of Florida, and requested assistance from U.S. Customs and Border Protection
(“CBP”).

When CBP agents arrived, they gained access to the INXS FINALLY’s staterooms.
Inside they found a total of fifteen (1 5) aliens. The USCG transferred the aliens and OPPEDISANO
to the USCG cutter BERNARD C. WEBER to collect the biometrics and processing. Checks of
immigration and law enforcement databases revealed that none of the people onboard the INXS
FINALLY had permission to enter the United States on December 2, 2019, including Ying Lian
LI, H.W., and X.K.

OPPEDISANO and the aliens were taken to the U.S. Border Patrol Station in Dania Beach,
Florida. The aliens’ biometrics were collected again and checked against additional law
enforcement and immigration databases. Those checks confirmed the earlier findings by the

USCG. Additionally, those checks revealed that OPPEDISANO had also been previously
removed from the United States on January 31, 2019. Furthermore, those checks revealed that
OPPEDISANO had not received consent from the Aitomey General or his successor, the Secretary

of Homeland, to apply for readmission to the United States before entering and attempting to enter
the United States. OPPEDISANO was searched by USCG officers and they recovered$4,833 in
his possession.

After receiving and acknowledging his Miranda rights, OPPEDISANO agreed to be
interviewed by law enforcement. He admitted he knew the aliens on the INXS FINALLY did not
have permission to enter the United States. Furthermore, OPPEDISANO admits that he was
expecting to be paid by a smuggler for transporting the fourteen (14) Chinese aliens, including

Ying Lian LI, H.W., and X.K. to the United States.
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On December 19, 2020, HSI agents conducted an inventory search of the INXS FINALLY.

Behind a panel in OPPEDISANO’s closet, the agents discovered $207,850 in U.S. and Bahamian

currency.

The United States and OPPEDISANO agree that these facts, which do not include all of

the facts known to the United States and to OPPEDISANO, are sufficient to prove the guilt of

OPPEDISANO as to the crime of Bringing an Alien to the United States for the Purposes of

Commercial or Private Financial Gain, in violation of Title 8, United States Code, Section

1324(a)(2)(B)().

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ARIANA FAJARDO ORSHAN
UNITED STATES ATTORNEY

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